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 6                      IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Michael P Ward, et al.,                           No. CV-22-08015-PCT-SMB
10                  Plaintiffs,                        ORDER
11   v.
12   Bennie G Thompson, et al.,
13                  Defendants.
14
15          I hereby recuse myself from any further action in the above-captioned matter.
16          IT IS ORDERED this case be reassigned, by lot, to another Judge in the District of

17   Arizona.
18          IT IS FURTHER ORDERED that this matter has been reassigned by random lot

19   to the James F. Metcalf. All future pleadings and papers submitted for filing shall bear the

20   following complete case number: CV-22-08015-PCT-JFM.
21          Dated this 2nd day of February, 2022.
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